Case 1:07-cr-00295-JTN           ECF No. 206, PageID.796            Filed 09/04/15      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                      Case No. 1:07-cr-295

v.                                                             HON. JANET T. NEFF

MIGUEL ANGEL ESTRADA,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Miguel Angel Estrada has filed a motion for modification or reduction of sentence

(Dkt 174) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

Sentencing Guidelines, made retroactive by the Sentencing Commission. The U.S. Probation

Department filed a Sentence Modification Report (Dkt 196) finding the defendant eligible for the

reduction. The parties filed responses to the Sentence Modification Report (Dkts 202, 203).

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       Having fully considered the Sentence Modification Report (Dkt 196) and the responses filed

by the parties, the Court has determined that defendant is eligible to a reduction of sentence pursuant

to the policy statement of the U.S. Sentencing Commission.
Case 1:07-cr-00295-JTN         ECF No. 206, PageID.797         Filed 09/04/15     Page 2 of 2




       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(Dkt 174) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant’s sentence is reduced to

120 months, as it is the mandatory minimum sentence, with an effective date of November 1, 2015.




DATED: September 4, 2015                            /s/ Janet T. Neff
                                                   JANET T. NEFF
                                                   United States District Judge




                                               2
